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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )                       CRIMINAL ACTION
                         Plaintiff,         )                       No. 08-20160-08-KHV
                                            )
v.                                          )
                                            )                       CIVIL ACTION
FRANCISCO PEREA,                            )                       No. 11-2095-KHV
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       On October 1, 2010, the Court ordered defendant to show cause why the Court should not

strike his Motion Under 28 U.S.C. § 2255 To Vacate, Set Aside Or Correct Sentence By Person In

Federal Custody (Doc. #307) filed July 2, 2010, for violation of Rule 11 of the Federal Rules of

Civil Procedure because he did not personally sign the motion.1 See Order To Show Cause (Doc.

#314). Defendant did not respond. For reasons stated in the order to show cause, the Court

overruled without prejudice defendant’s Section 2255 motion.2 See Memorandum And Order (Doc.


       1
               Rule 11(a), Fed. R. Civ. P., requires that a written motion be signed “by at least one
attorney of record in the attorney’s name—or by a party personally if the party is unrepresented.”
Here, based on the date of the signature, defendant’s place of confinement, the date the motion was
filed and the mailing address, the Court questioned whether defendant actually signed the motion.
Order To Show Cause (Doc. #314) at 1.
       2
                In United States v. Dozal, D. Kan. No. 09-20005-08-KHV, defendant attached a letter
from Robin S. Martin to his response to the Court’s order to show cause. See Movant’s Response
To Court’s September 22, 2010 Order (Doc. #942 in No. 09-20005-08). The letter instructs Dozal
to sign and date the document and mail it to the Clerk for filing. See id. An attorney who “ghost
writes” a brief for a pro se litigant may be subject to discipline both for a violation of the rules of
professional conduct and for contempt of court. Patton v. West, 276 Fed. Appx. 756, 757 (10th Cir.
2008). In another case, United States v. Garcia-Gallardo, D. Kan. No. 09-20005-03-KHV, the Court
gave Robin S. Martin an opportunity to show cause why the Court should not refer that matter for
potential investigation by the Chief Trial Counsel for the State Bar of California. See Amended
Order To Show Cause (Doc. #931 in No. 09-20005-03). Martin did not file a response. Based on
                                                                                         (continued...)
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#317) filed November 18, 2010. This matter is before the Court on defendant’s Motion Under 28

U.S.C. § 2255 To Vacate, Set Aside Or Correct Sentence By Person In Federal Custody (Doc. #330)

filed February 14, 2011.

       Defendant’s present motion lists his place of confinement as “FCI Pollock; 1443 E

Washington Blvd #126 Pasadena CA 91104.” Doc. #330 at 1. FCI Pollock is actually located in

Pollock, Louisiana. The address of 1443 E. Washington Blvd #126, Pasadena, CA 91104 is

associated with Robin S. Martin, who apparently mailed the motion. In addition, someone other

than defendant apparently signed defendant’s name on the declaration portion of the motion which

indicates that it was placed in the “prison mailing system.” Doc. #330 at 32. Defendant purportedly

signed the motion on February 10, 2011, but the Clerk received defendant’s motion and declaration

on Monday, February 14, 2011 in an envelope which was postmarked Friday, February 11 in

Altadena, California. Because of these irregularities in defendant’s motion and to ensure that

defendant himself truly is filing the motion, the Court overrules the present motion without

prejudice.

       Defendant is not prejudiced by this ruling because he can timely re-file a Section 2255

motion. As explained in prior orders, because defendant did not file a direct appeal, his conviction

became final on May 10, 2010 (14 days after the Court entered judgment). See Fed. R. App.

P. 4(b)(1)(A), 4(b)(6) and 26(a)(2). If defendant wants to re-file his motion, he should note the one-



       2
          (...continued)
the letter from Martin in Dozal, the appearance of the multiple Section 2255 motions filed in various
cases, see United States v. Mata Soto, D. Kan. No. 08-20160-01-KHV, Garcia-Gallardo, supra,
Dozal, supra, and United States v. Chavez-Cadenas, D. Kan. No. 09-20005-10-KHV, and a web site
reference that the address on various motions was associated with “Lawyer Robin S. Martin,” the
Court referred this matter for investigation by the Chief Trial Counsel for the State Bar of California.
                                                  -2-
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year period of limitations set forth in 28 U.S.C. § 2255.

       IT IS THEREFORE ORDERED that defendant’s Motion Under 28 U.S.C. § 2255 To

Vacate, Set Aside Or Correct Sentence By Person In Federal Custody (Doc. #330) filed February 14,

2011 be and hereby is OVERRULED without prejudice.

       The Clerk is directed to mail a copy of this order by certified mail, return receipt

requested, to Francisco Perea #12117-031, FCI Pollock, Federal Correctional Institution, P.O.

Box 2099, Pollock, LA 71467 and to Robin S. Martin, 1443 E. Washington Blvd. #126,

Pasadena, CA 91104.

       Dated this 24th day of February, 2011 at Kansas City, Kansas.

                                                        s/ Kathryn H. Vratil
                                                        KATHRYN H. VRATIL
                                                        United States District Judge




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